                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 JANE DOE,                                                Case No.

                                Plaintiff,
                 v.                                       JURY DEMAND

 WILLIAM B. LEE, Governor of the State of
 Tennessee, in his official capacity; DAVID
 RAUSCH, Director of the Tennessee Bureau
 of Investigation, in his official capacity,
                               Defendants.




  PLAINTIFF’S MEMORADUM OF LAW IN SUPPORT OF MOTION TO PROCEED
            UNDER PSEUDONYM AND FOR PROTECTIVE ORDER

       Plaintiff is challenging the constitutionality of the Tennessee Sexual Offender and Violent

Sexual Offender Registration, Verification, and Tracking Act of 2004, Tenn. Code Ann. §§ 40-39-

201–40-39-218 (“the Act”), under the Fourteenth Amendment, the Eighth Amendment, Ex Post

Facto Clause of the United States Constitution. As a registered sex offender, Plaintiff belongs to a

highly stigmatized group. Disclosing Plaintiff’s identity in public court records risks subjecting

Plaintiff and Plaintiff’s family to significant harm.

       Plaintiff therefore seeks permission to proceed in this action under a pseudonym and a

protective order barring the dissemination of Plaintiff’s true name and requiring that any

documents containing Plaintiff’s true name or other information that would identify Plaintiff

directly or indirectly be redacted or filed under seal.




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                                             Discussion

       As a general matter, a complaint must state the names of all parties. Fed. R. Civ. P. 10(a).

However, “trial courts have always been afforded the power to seal their records when interests of

privacy outweigh the public’s right to know.” In re Knoxville News-Sentinel Co., Inc., 723 F.2d

470, 474 (6th Cir. 1983) (citations omitted).

       Plaintiff may proceed under a pseudonym if the Court concludes Plaintiff’s “privacy

interests substantially outweigh the presumption of open judicial proceedings.” Doe v. Porter, 370

F.3d 558, 560 (6th Cir. 2004). In addition, Fed. R. Civ. P. 26(c)(1) specifically authorizes the Court

“for good cause” to “issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense” upon Plaintiff’s motion. The Court may grant a protective

order under Rule 26(c)(1) for “good cause” and has “broad discretion...to decide when a protective

order is appropriate and what degree of protection is required.” Seattle Times Co. v. Rhinehart, 467

U.S. 20, 36 (1984).

       Here, Plaintiff’s privacy interests outweigh the general presumption of open records.

People publicly identified as sex offenders face widespread opprobrium, humiliation, and

harassment. Cf. Porter, 370 F.3d at 560 (permission to proceed pseudonymously properly granted

to plaintiffs in Establishment Clause case because topic “could subject them to considerable

harassment”). Because of the stigma attached to registered sex offenders, courts commonly allow

them to proceed under pseudonyms in litigation challenging sex offender registration laws,

including this District Court. See, e.g., Connecticut Department of Public Safety v. Doe, 538 U.S.

1 (2003); Smith v. Doe, 538 U.S. 84 (2003); Doe v. Miami-Dade County, No. 15-14336, —F.3d.—

, 2016 WL 5334979 (11th Cir. Sept. 23, 2016) (slip opinion); Does #1–5 v. Snyder, 834 F.3d 696

(6th Cir. 2016); Doe v. Sturdivant, 490 F.3d 491 (6th Cir. 2007); Does v. Munoz, 507 F.3d 961 (6th




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Cir. 2007); Doe v. Lee, 3:16-cv-02862 (M.D. Tenn.); Does #1-3 v. Lee, 3:19-cv-00532 (M.D.

Tenn.).

          Plaintiff seeks to avoid more than public humiliation. Because of the widespread public

hostility toward registered sex offenders, Plaintiff fears for Plaintiff’s personal safety if Plaintiff’s

identity is publicly disclosed as a sex offender trying to strike down Tennessee’s sex offender

registry law. This fear is well-founded. A 2019 study by criminologists of vigilante attacks against

sex offenders identified 279 such incidents and concluded that “findings from the current study

suggest that placement of [sex offenders] on publicly accessible registries puts them at risk for

vigilante attacks.” Michelle A. Cubellis et al., “Sex Offender Stigma: An Exploration of

Vigilantism against Sex Offenders,” Deviant Behavior, 40:2, 225, 237 (DOI: DOI:

10.1080/01639625.2017.1420459) (2019).

          Plaintiff’s fear is heightened by the fact that, if Plaintiff’s name becomes known, anyone

can easily determine Plaintiff’s whereabouts by searching the public sex offender registry, which

shows Plaintiff’s photograph and detailed personal information, including Plaintiff’s height,

weight, eye and hair color, and where Plaintiff lives and works. The registry even provides a button

to “Map Offender,” which generates a map showing Plaintiff’s residence. Thus, Plaintiff is not

merely a target for harassment and vigilantism, Plaintiff is an easy target. Permission to proceed

under a pseudonym, and a protective order prohibiting disclosure of Plaintiff’s true name, is

therefore necessary to safeguard not just Plaintiff’s privacy, but Plaintiff’s safety.

          Plaintiff is also concerned that information identifying Plaintiff might be reported in the

press. Plaintiff fears such publicity could make it harder for Plaintiff to obtain or maintain

employment and housing in the future and expose Plaintiff and Plaintiff’s family members to

public embarrassment, humiliation, and harassment.




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       In addition to expressing concern about plaintiffs who may be subject to harassment, the

Sixth Circuit has identified several factors that the Court may consider in determining whether

plaintiffs may proceed anonymously, including:

       (1)     whether the plaintiffs seeking anonymity are suing to challenge
               governmental activity;

       (2)     whether prosecution of the suit will compel the plaintiffs to disclose
               information of the utmost intimacy;

       (3)     whether the litigation compels the plaintiffs to disclose an intention to
               violate the law, thereby risking criminal prosecution; and

       (4)     whether the plaintiffs are children.

Porter, 370 F.3d at 560 (internal quotation mark omitted).

       Plaintiff meets the first and second of these factors. First, Plaintiff is challenging

government activity, specifically enforcement of SORA against Plaintiff. Second, much of the

information disclosed in the Complaint, and much of the information likely to be disclosed during

discovery and litigation, is highly personal, including information about Plaintiff’s family

members. As to the third factor, Plaintiff intends to comply with SORA until such time as this

Court grants relief, however, disclosing Plaintiff’s identity risks exposes Plaintiff to heightened

scrutiny by the law enforcement authorities charged with enforcing SORA. Given the vagueness

of many of SORA’s provisions, increased scrutiny brings an increased risk enforcement.

       A final factor relevant to the analysis is that Plaintiff seeks relief from the stigma of being

on the sex offender registry. Given the permanence of the Internet, if Plaintiff is publicly identified

in this litigation, that stigma will be permanent even if Plaintiff prevails and is removed from the

sex offender registry. Nelson v. Bender,. 3:15-64, 2015 WL 8207490, at *3 (W.D. Pa. Dec. 7, 2015)

(“Plaintiff’s criminal record has since been expunged. Media accounts of Defendant Bender’s




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filing of felony criminal charges against Plaintiff will remain on the Internet forever.”) (internal

citation omitted).

       The Sixth Circuit has also noted that courts should consider whether defendants would

have sufficient information to present their defense. In Porter, the court approved a protective

order that required disclosure of the plaintiffs’ identities to the defendants but limited disclosure

of the plaintiffs’ personal information to the public or outside of the litigation. Porter, 370 F.3d at

560–561.

       Here, Plaintiff seeks an order that would prohibit public disclosure of Plaintiff’s personal

information but permit disclosure to Defendants for purposes of defending this case. This District

Court has entered such an order in similar challenges to SORA, which did not hamper these same

Defendants from presenting a defense. See Doe v. Lee, 3:16-cv-02862 at Doc. No. 30 (M.D. Tenn.);

Does #1-3 v. Lee, 3:19-cv-00532 at Doc. No. 12 (M.D. Tenn.).

       Thus, Plaintiff’s proposed protective order will not hamper Defendants’ ability to present

a defense in this case.

                                             Conclusion

       Allowing Plaintiff to proceed under a pseudonym and entering a protective order protecting

Plaintiff’s identity against disclosure is necessary to prevent Plaintiff from being subjected to

harassment, vigilantism, or other harm and will not compromise Defendants’ ability to conduct

their defense.

       For these reasons, Plaintiff requests the Court to: (1) enter an order allowing Plaintiff to

proceed in this action under the pseudonym “Jane Doe” and requiring that any documents

containing Plaintiff’s true name or other information that would identify Plaintiff, directly or

indirectly, be redacted or filed under seal; and (2) grant any other necessary or proper relief.




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Dated: September 8, 2023.




                                               Respectfully submitted:

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